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 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       No. 08-CR-116 KJM
12                     Plaintiff,
13          v.                                       ORDER
14   BENJAMIN BUDOFF, et al.,
15                     Defendants.
16

17                 On October 11, 2013 the court conditionally sealed Exhibit A to defendant

18   Budoff’s motion in limine so the court could determine in camera, as instructed by the Supreme

19   Court in United States v. Zolin, 491 U.S. 554, 562–63 (1989), whether Exhibit A was subject to

20   the crime-fraud exception to the attorney client privilege. (ECF 378.) Having conducted this

21   examination and ruled on defendant’s motion in limine, the court now orders the Clerk of Court

22   to DELETE Exhibit A from the public docket. (ECF 379.) The court has not relied on Exhibit A

23   when ruling on any dispositive motion and has returned Exhibit A to defendant’s counsel. L.R.

24   141(e)(1). Defendant may offer any part of Exhibit A as an exhibit at trial in conformance with

25   the court’s ruling on the motion in limine. (ECF 416.)

26                 IT IS SO ORDERED.

27   DATE: October 25, 2013.

28                                                       UNITED STATES DISTRICT JUDGE
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